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APPEARANCE SHEET
FOR THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF VIRGINIA

UNITED STATES OF AMERICA Case No.: 3: Q3CRO0Ol\
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PARTIES/SPEAKERS: :
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3: Dft -JEnAins 8.
4. Def Atty - NiCholas DeFalma 9. deputy clerk - Karen Dotson
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